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                        IN THE UN ITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                                            ........
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                                   EL PASO DIVISION                                                   • I ·---

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 UNITE D STATES OF AMERICA,                         §
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         Plaintiff:                                 §
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                                                              3:19-M -08661(1 ,2,3)                              <?f.-:-:-- - ----
 V.
                                                    §
                                                    §
 JULINEI VICENTE-DE OLIVE IRA ( 1),                 §
 and ENILDA DE OLIVEIRA-                            §
 FERNANDES PIRES (2), and HELL EN                   §
 FERNANDES-PIRES (3),

         Defendant.

                  GOVERNMENT'S MOT ION TO DETAIN DEFENDANTS
                  \VITHOUT BONO AND MOTION FOR CONTINUANCE

       COMES NOW the United States of America, by and through the United States Attorney

for tJ1e Western District of Texas, and pursuant to 18 U.S.C. § 3142(e) and (I), fil es this, its Motion

to Detain Defendants Without Bond and Motion for Continuance. and for cause, would

respectfull y show unto the Court the followi ng:

        I.      The Defendants vvere arrested lor a violation of Title 18, Un ited States Code,

                Sections 371 , Conspiracy to Defraud the Uni1ed States Government.

       2.       The Defendants are forei gn nationals, and, as such, present a high risk of tleeing to

                avoid prosecution on this charge.

       3.       There are no conditions or combinati on of conditions which will reasonably assure

                the appearance of the Defendants at future court settings.
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       The Government wou ld further move the Court for a th ree day continuance of the detention

hearing tl-om the date of the initial appearance.

       WHEREFORE, premises considered, the Government respectfully prays the Court to hold

the above-named Defendants without bai I pending the final outcome of this case.

                                               Respectfully submitted,




                                       By:

                                               Assistant U.S. Attorney
                                               Pennsylvania Bar #2 10030
                                               700 E. San Antonio, Suite 200
                                               El Paso~ Texas 79901
                                               (915) 534-6884




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